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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION


  REALTIME DATA, LLC D/B/A/ IXO,

                    Plaintiff,
                                                        Civil Action No. 6:08-cv-00144-LED/JDL
           v.

  PACKETEER, INC.,
                                                        JURY TRIAL DEMANDED
  BLUE COAT SYSTEMS, INC.,
  CITRIX SYSTEMS, INC.,
  EXPAND NETWORKS, INC.,
  F5 NETWORKS, INC.,
                                                        UNOPPOSED
  7-ELEVEN, INC.,
  ABM INDUSTRIES, INC.,
  ABM JANITORIAL SERVICES –
     SOUTH CENTRAL, INC.,
  AVERITT EXPRESS, INC.,
  BUILD-A-BEAR WORKSHOP, INC.,
  DHL EXPRESS (USA), INC.,
  INTERSTATE BATTERY SYSTEM OF
     AMERICA, INC., AND
  O’REILLY AUTOMOTIVE, INC.
                    Defendants.


          PLAINTIFF REALTIME DATA, LLC’S UNOPPOSED MOTION
   TO MODIFY DOCKET CONTROL ORDER CONCERNING MARKMAN BRIEFING

  TO THE HONORABLE UNITED STATES MAGISTRATE JUDGE:

           COMES NOW Plaintiff REALTIME DATA, LLC d/b/a IXO, to respectfully move this

  Court for an extension of time for the parties to Comply with P.R. 4-5(a) and 4-5(b).

           The Court’s Docket Control Order entered September 19, 2008 (Dkt. 128), sets March 2,

  2009 as the deadline for the Plaintiff to comply with P.R. 4-5(a), and sets March 16, 2009 as the

  deadline for Defendants to comply with P.R. 4-5(b).




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           Plaintiff REALTIME DATA, LLC d/b/a IXO respectfully moves this Court to extend the

  deadline for Plaintiff to submit its opening Markman brief from March 2 to and including March

  5, 2009 and to extend the deadline for Defendants’ responsive Markman brief from March 16 to

  and including March 19, 2009. All other deadlines set forth in the Docket Control Order would

  remain unchanged.

           WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that this

  Unopposed Motion be granted.


  Dated: February 24, 2009                      Respectfully submitted,

                                                POTTER MINTON
                                                A Professional Corporation

                                                By: /s/ John F. Bufe
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                                   CERTIFICATE OF SERVICE

           I hereby certify that all counsel of record who have consented to electronic service are

  being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-

  5(a)(3) on this the 24th day of February, 2009. Any other counsel of record will be served by

  first class U.S. mail on this same date.


                                                      /s/ John F. Bufe
                                                      John F. Bufe




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